 Case 2:20-cv-05099-JMV-MF Document 3-1 Filed 06/15/20 Page 1 of 2 PageID: 9




Law Office of Howard A. Gutman
230 Route 206, Suite 307
Flanders, New Jersey 07836
(973) 598-1980
Attorney for Plaintiff
___________________________________________________________

XIN YUE on behalf of himself and as
assignee of YISHENG LI.                        United States District Court for the
                                               District of New Jersey
                       Plaintiff,

                       -against-               Civil Action No. 2:20-05099


STEWART LOR,                               Certification of Counsel in Support of
                                           Pro Hac Vice Application

                      Defendant.

-----------------------------------------------------------------------x


I, Jacob Yiping Chen, do hereby certify,

1. I am a member in good standing of the bar of the State of New York, admitted on May 28,
2012 to the Second Judicial Department located at 335 Adams Street, Room 2402, Brooklyn, NY
11201. I am a member in good standing of the bar of the United States District Court for the
Southern District of New York and United States District Court for the Eastern District of New
York, admitted on July 30, 2013.

2. I certify that I have never been disbarred and am not currently suspended from the practice
of law before any United States Court of Appeals, United States District Court, or the United
States Bankruptcy Court. I certify that no disciplinary proceedings are pending against me in
any jurisdiction and no discipline has previously been imposed on me in any jurisdiction.

3. I hereby request authority to appear pro hac vice in this case and in any appeal proceedings
in this case on behalf of Xin Yue (“Client”) in the case listed above, and in any appeal
proceedings. I understand that Howard Gutman, Esquire (“Local Counsel”), is required to
participate in the preparation and the presentation of the case above and any appeal
proceedings in which I appear on behalf of such Client, and accept service of all papers served
in such case and proceedings.

                                                [1]
Case 2:20-cv-05099-JMV-MF Document 3-1 Filed 06/15/20 Page 2 of 2 PageID: 10




4. I understand that only Local Counsel may file papers, enter appearances for parties, sign
stipulations, or sign and receive payments on judgments, decrees or order. I certify that I am
familiar with and shall be governed by the local rules of this court, rules governing practice in
federal courts, rules of professional conduct and all other requirements governing the
professional behavior of members of the New Jersey Bar.



I certify that the foregoing statements made by me are true. I am aware that if any of the
foregoing statements made by me are willfully false, I am subject to punishment.




Dated: New York, New York                             By: _________________________
       June 15, 2020




                                                      Jacob Chen, Esq.
                                                      New York Bar No. 5019286
                                                      Dai & Associates, P.C.
                                                      1500 Broadway, 22nd Floor
                                                      New York, New York 10036
                                                      Ph: (212) 730-8880
                                                      Fax: (212) 730-8869
                                                      jchen@daiassociates.com




                                                [2]
